     Case 2:21-cv-06968-RGK-MAR Document 53 Filed 09/06/22 Page 1 of 2 Page ID #:378




 1     STEPHANIE S. CHRISTENSEN
       Acting United States Attorney
 2     SCOTT M. GARRINGER
       Assistant United States Attorney
 3     Chief, Criminal Division
       JONATHAN GALATZAN
 4     Assistant United States Attorney
       Chief, Asset Forfeiture Section
 5     VICTOR A. RODGERS (Cal. Bar No. 101281)
       MAXWELL COLL (Cal. Bar No. 312651)
 6     Assistant United States Attorneys
       Asset Forfeiture Section
 7           United States Courthouse, 14th Floor
             312 North Spring Street
 8           Los Angeles, California 90012
             Telephone: (213) 894-2569/1785
 9           Facsimile: (213) 894-0142
             E-mail: Victor.Rodgers@usdoj.gov
10                   Maxwell.Coll@usdoj.gov
11     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                 Case No. 2:21-cv-06968-RGK-MAR
16
                 Plaintiff,                     PLAINTIFF UNITED STATES OF
17                                              AMERICA’S REPORT REGARDING
                        v.                      STATUS OF ONGOING CRIMINAL
18                                              INVESTIGATION
      $305,000.00 IN U.S. CURRENCY,
19
                 Defendant.
20
21
22
23 MICHAEL MAGEE,
24         Claimant.
25
26     ///
27     ///
28     ///
     Case 2:21-cv-06968-RGK-MAR Document 53 Filed 09/06/22 Page 2 of 2 Page ID #:379




 1           Pursuant to the Court’s Order filed March 8, 2022 on Plaintiff’s Motion to Stay
 2     This Civil Forfeiture Proceeding, the Court stayed this civil forfeiture action pursuant to
 3     18 U.S.C. § 981(g) pending an ongoing related federal criminal investigation. Docket
 4     No. 39. The Court’s order instructed the government to file reports every ninety (90)
 5     days, commencing June 6, 2022, regarding the status of the criminal investigation.
 6     Accordingly, the government is hereby submitting this report regarding the status of the
 7     related federal criminal investigation.
 8           The related federal criminal investigation is ongoing. Pursuant to the Court’s
 9     Order filed March 8, 2022, the government will submit its next status report within 90
10     days of the filing of this status report (i.e., by December 5, 2022).
11
12     Dated: September 6, 2022                       Respectfully submitted,
13                                                    STEPHANIE S. CHRISTENSEN
                                                      Acting United States Attorney
14                                                    SCOTT M. GARRINGER
                                                      Assistant United States Attorney
15                                                    Chief, Criminal Division
                                                      JONATHAN GALATZAN
16                                                    Assistant United States Attorney
                                                      Chief, Asset Forfeiture Section
17
                                                            /s/             _____________
18                                                    VICTOR A. RODGERS
                                                      MAXWELL COLL
19                                                    Assistant United States Attorneys
20                                                    Attorneys for Plaintiff
                                                      UNITED STATES OF AMERICA
21
22
23
24
25
26
27
28
                                                     1
